Case 22-52950-pmb            Doc 111    Filed 07/07/22 Entered 07/07/22 15:42:33           Desc Main
                                       Document      Page 1 of 1



                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

 IN RE                                             )           CHAPTER 7
                                                   )
 ATLANTA LIGHT BULBS, INC.,                        )           CASE NO. 22-52950-PMB
                                                   )
                DEBTOR.                            )

           CORRECTED NOTICE OF APPOINTMENT OF INTERIM TRUSTEE
                 AND SECTION 341(a) MEETING OF CREDITORS

         Pursuant to 11 U.S.C. § 701, the United States Trustee appoints S. Gregory Hays as
 interim trustee in this case and designates him to preside over the meeting of creditors. Unless
 creditors at the first meeting of creditors held pursuant to 11 U.S.C. § 341(a) elect another
 trustee, the interim trustee appointed herein shall serve as trustee without further appointment or
 qualification. The trustee shall serve under the blanket bond heretofore approved. The name and
 address of the interim trustee and the date, time, and location of the section 341(a) meeting of
 creditors are as follows:
  S. Gregory Hays                         August 16, 2022, at 10:00 a.m.
  2964 Peachtree Road, NW
  Suite 555                               The meeting will be held by telephone conference call.
  Atlanta, GA 30302 -2153                 To attend, dial: 866-909-7148.
  Phone: (404) 926-0051                   When prompted, enter participant code: 4958999#.



 Notice given by:                               MARY IDA TOWNSON
                                                UNITED STATES TRUSTEE
                                                REGION 21

                                                s/ Jeneane Treace
                                                R. Jeneane Treace
                                                GA Bar No. 716620
                                                United States Department of Justice
                                                Office of the United States Trustee
                                                362 Richard B. Russell Building
                                                75 Ted Turner Drive, S.W.
                                                Atlanta, Georgia 30303
                                                (404) 331-4437
                                                jeneane.treace@usdoj.gov
